     Case 4:21-cr-00005-O Document 275 Filed 10/15/24                Page 1 of 5 PageID 7128



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

    UNITED STATES OF AMERICA,                     §
                                                  §
          Plaintiff,                              §
                                                  §
    v.                                            §
                                                        Criminal Action No. 4:21-cr-5-O
                                                  §
    THE BOEING COMPANY,                           §
                                                  §
          Defendant.                              §

                                              ORDER

         On October 11, 2024, the Court held a hearing regarding the proposed Plea Agreement

(the “Agreement”) between the Government and The Boeing Company (“Boeing”).1 Naoise

Connolly Ryan and other representatives of the victims2 (collectively “victims”) of the crashes of

Lion Air Flight JT610 and Ethiopian Airlines Flight ET302 appeared and elaborated on their

arguments3 on why the Court should reject the Agreement. Likewise, the Government and Boeing

appeared and urged the Court to accept the Agreement, which they previously detailed in their

responses to the victims’ objections.4

         To provide brief context, the Government determined Boeing breached its obligations

under the deferred prosecution agreement “by failing to design, implement, and enforce a

compliance and ethics program to prevent and detect violations of the U.S. fraud laws throughout



1
  See Oct. 11, 2024, Minute Entry, ECF No. 273.
2
  The Court is currently considering Polskie Linie Lotnicze LOT S.A’s. (“LOT’s”) status under the Crime
Victims’ Rights Act (“CVRA”). This order by no means expresses any opinion as to Lot’s status under the
CVRA. For the sake of judicial expediency, the Court is allowing LOT to move the Court to reject the
proposed Plea Agreement.
3
  See ECF Nos. 232, 233, 234, 235 and 236. Rini Eka A. Soegiyono, et al. (ECF Nos. 238 and 255) and
the Manfredi Family (ECF Nos. 236 and 256) are additional family members joined under Naoise Connolly
Ryan, et al.
4
  See Government’s Resp., ECF No. 245; Boeing’s Resp., ECF No. 246.

                                                  1
    Case 4:21-cr-00005-O Document 275 Filed 10/15/24                  Page 2 of 5 PageID 7129



its operations.”5 The Government and Boeing then drafted and filed the Agreement, in which

Boeing pleads guilty to what the Government contends is the most readily provable offense—

conspiracy to defraud the United States in violation of 18 U.S.C. § 371.6 Among other provisions,

the Agreement mandates an independent compliance monitor to assess whether Boeing has

adequately mitigated the risk of providing false or fraudulent information to the Federal Aviation

Administration and other government regulators.7

        Like many of the Agreement’s other provisions, the victims strongly oppose the

Agreement’s compliance monitor requirements.8 Among other reasons, the victims argue the

Court should reject the Agreement because it allows the Government, not the Court, to select a

monitor with input from Boeing and “in keeping with the Department’s commitment to diversity

and inclusion”9 (the “provision”). When the Court questioned the Government on this provision,

the Government confirmed it “is a policy position of the Department of Justice”10 (“DOJ” or

“Department”) established in 2021.11 The Government further stated it “is something that the

[D]epartment takes into account as it assesses the totality of an application for a particular person

or monitor team.”12 In response to the Court’s question on what the provision means in practice,

the Government explained “it doesn’t mean in practice that [the Government] select[s] [someone]

less qualified”; rather, it is “going to hear from anybody who can submit from all over the country

or elsewhere.”13




5
  Notice 1, ECF No. 199.
6
  See Status Report 2, ECF No. 221.
7
  Id. at 3–4; see Proposed Plea Agreement ¶¶ 29–37, ECF No. 222-1.
8
  Naoise Connolly Ryan, et al. Mot. 35–40, ECF No. 232-1.
9
  Id. at 37 (quoting Proposed Plea Agreement, ¶ 33, ECF No. 222-1).
10
   Hr’g Tr. at 95:1, ECF No. 274.
11
   Id. at 98:5–12.
12
   Id. at 95:3–5.
13
   Id. at 95:6–14.

                                                  2
     Case 4:21-cr-00005-O Document 275 Filed 10/15/24              Page 3 of 5 PageID 7130



         The Court also asked the Government to elaborate on the definitions of “diversity” and

“inclusion.” The Government clarified that “diversity” refers to “race, gender, background, [and]

any number of factors,”14 including “background and experience.”15               Inclusion, in the

Government’s words, is “another way of maybe saying the same thing and not excluding people

because of any characteristic that would be included in diversity.”16 The attorney for the

Government explained that he was not familiar with the details of the provision and how it would

be applied in this case as he would not be on the committee applying it.17

         When the Court questioned Boeing on the provision, Boeing confirmed its understanding

that the Government “would use that policy to make their [monitor candidate] selections” and its

confidence in the Government’s monitor selection process.18 Critically, Boeing did not voice any

objection to this provision.

         Both the DOJ and Boeing have publicly acknowledged their commitment to advance

diversity, equity, and inclusion (“DEI”). For instance, the DOJ “is committed to advancing

diversity, equity, inclusion, and accessibility (DEIA) for its employees.”19 It developed a “DEIA

Strategic Plan that articulated a road map to advance DEIA across Department components” after

the President issued an executive order promoting diversity, equity, inclusion, and accessibility in

the Federal workforce.20 In 2022, the DOJ issued a DEIA policy statement explaining that “the

Department will continue to strive to foster an inclusive work environment that respects, embraces,




14
   Id. at 95:21–25.
15
   Id. at 97:8.
16
   Id. at 97:12–16.
17
   Id. at 97:24–98:8.
18
   Id. at 114:8–19.
19
    Diversity, Equity, Inclusion and Accessibility (DEIA), U.S. DEP’T OF JUST. (Feb. 27, 2024),
https://www.justice.gov/jmd/diversity-equity-inclusion-and-accessibility-deia.
20
   Id.; see Exec. Order No. 14035, 86 Fed. Reg. 34593 (June 25, 2021).

                                                 3
     Case 4:21-cr-00005-O Document 275 Filed 10/15/24                    Page 4 of 5 PageID 7131



and promotes the diversity and many talents of its workforce.”21 Its Strategic Plan provides it

intends to use diversity and equity in recruiting and hiring its workforce.22

         Boeing’s DEI endorsement runs in the same vein. Its website touts its commitment “to

creating a culture of inclusion” and “set of aspirations” it will strive to achieve by 2025 “[t]o

advance equity and diversity and build a culture of inclusion.”23 These “aspirations” include racial

quotas, such as Boeing attempting to “[i]ncrease the Black representation rate in the U.S. by 20%”

and “[c]lose representation gaps for historically underrepresented groups.”24 Indeed, Boeing ties

executive compensation to achieving DEI goals.25

         The Government has confirmed Boeing’s fraudulent misconduct has burdened safety and

compliance protocols.26 Accordingly, the corporate monitor’s role centers precisely on Boeing’s

“current and ongoing compliance with U.S. fraud laws,” specifically focusing “on the integration

of [Boeing’s] compliance program with [Boeing’s] safety and quality programs as necessary to

detect and deter violations of anti-fraud laws or policies.”27

         Given this, the Court needs additional information to adequately consider whether the

Agreement should be accepted. Specifically, it is important to know: how the provision promotes



21
   Diversity, Equity, Inclusion and Accessibility (DEIA), supra note 19.
22
   Diversity, Equity, Inclusion, and Accessibility Strategic Plan for Fiscal Years 2024-2026, U.S. DEP’T
OF JUST., https://www.justice.gov/jmd/media/1340036/dl?inline.
23
    Global Equity, Diversity & Inclusion, BOEING, https://www.boeing.com/sustainability/diversity-and-
inclusion#Commitment.
24
   Id.
25
       Global     Equity,     Diversity   &      Inclusion     2023     Report,     BOEING,    2    (2023),
https://www.boeing.com/content/dam/boeing/boeingdotcom/principles/diversity-and-
inclusion/assets/pdf/Boeing_GEDI_Report_FINAL.pdf (“[F]or the first time in [Boeing’s] history, [it] tied
incentive compensation to inclusion.”).
26
   Government’s Resp. 40, ECF No. 245 (The corporate “monitorship directly targets the root causes of
Boeing’s criminal conduct” by overseeing that Boeing “better integrate compliance and ethics into its safety
functions.” (emphasis added)); Hr’g Tr. at 90:8–15, ECF No. 274 (In the Government’s words, the
corporate monitor ensures “that compliance and ethics knows about what the risks are on the safety and
quality side.” (emphasis added)).
27
   Proposed Plea Agreement D-2, ¶ 3, ECF No. 222-1.

                                                     4
  Case 4:21-cr-00005-O Document 275 Filed 10/15/24                  Page 5 of 5 PageID 7132



safety and compliance efforts as a result of Boeing’s fraudulent misconduct; what role Boeing’s

internal focus on DEI impacts its compliance and ethics obligations; how the provision will be

used by the Government to process applications from proposed monitors; and how Boeing will use

the provision and its own internal DEI commitment to exercise its right to strike a monitor

applicant. Accordingly, the parties should address the following:

    •   The Government SHALL provide the Court with the specific DOJ policy it referenced
        during the October 11 hearing and in the Agreement; definitions for the terms “diversity”
        and “inclusion” as stated in the Agreement; supplemental briefing explaining how the
        provision furthers compliance and ethics efforts; and how it will use the provision in
        selecting a proposed monitor.

    •   Boeing SHALL provide supplemental briefing explaining what it understands the
        provision to require; an explanation of how its existing DEI policies are used in its current
        compliance and ethics efforts; and how it intends to use DEI principles in exercising its
        strike of a proposed independent monitor.

    The Court ORDERS the Government and Boeing to provide this supplemental briefing no

later than October 25, 2024.

        SO ORDERED this 15th day of October, 2024.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE




                                                 5
